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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                   HARRISON DIVISION

 UNITED STATES OF AMERICA                                                                  PLAINTIFF

          v.                         Case No. 3:17-cr-30010-007

 JULIA NICOLE HOLLEY                                                                    DEFENDANT


               MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

          Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3), Local Rule 72.1 ¶ XII, and

 General Order No. 40, this matter was referred to the undersigned for the purposes of conducting a

 plea hearing pursuant to Rule 11 of the Federal Rules of Criminal Procedure. Such a hearing was

 conducted on October 13, 2017, and, pursuant to a written Plea Agreement, the Defendant entered

 a plea of guilty to Count One of the Indictment. Pursuant to the Plea Agreement, the Government

 will move to dismiss the remaining Counts of the Indictment once the Court has pronounced

 sentence.

          After conducting the hearing in the form and manner prescribed by Rule 11, the undersigned

 finds:

          1.     The Defendant, after consultation with her counsel, has knowingly and voluntarily

 consented, both in writing and on the record at the hearing, to the entry of her guilty plea before the

 undersigned, with the plea being subject to final approval by Chief United States District Judge P.

 K. Holmes, III.

          2.     The Defendant and the Government have entered into a written Plea Agreement

 which has been disclosed in open court pursuant to Rule 11(c)(2), and the undersigned has directed

 that the Plea Agreement be filed.
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         3.      The Defendant is fully competent and capable of entering an informed plea; the

 Defendant is aware of the nature of the charges, the applicable maximum penalties, and the

 consequences of the plea; the Defendant is fully satisfied with her counsel and has had sufficient

 time to consult with her; and, the plea of guilty is a knowing and voluntary plea supported by an

 independent basis in fact containing each of the essential elements of the offense.

         4.      The Defendant understands her constitutional and statutory rights and wishes to waive

 these rights.

         5.      The parties were informed, both in writing and on the record at the hearing, of their

 right to file written objections within fourteen (14) days after receipt of this Report and

 Recommendation. To expedite acceptance of the guilty plea, the parties waived, both on the record

 and in writing, their right to file objections.

         Based on the foregoing, the undersigned recommends that the guilty plea be accepted and that

 the written Plea Agreement be tentatively approved, subject to final approval at sentencing.

         DATED this 13th day of October 2017.

                                                   /s/ Mark E. Ford
                                                   HONORABLE MARK E. FORD
                                                   UNITED STATES MAGISTRATE JUDGE
